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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


CHICAGO WOMEN IN TRADES,                         )
                                                 )
                     Plaintiff,                  )
                                                 )
       vs.                                       )             Case No. 25 C 2005
                                                 )
PRESIDENT DONALD J. TRUMP,                       )
DEPARTMENT OF LABOR, ACTING                      )
SECRETARY OF LABOR VINCENT                       )
MICONE, OFFICE OF MANAGEMENT                     )
AND BUDGET, DIRECTOR OF THE                      )
OFFICE OF MANAGEMENT AND                         )
BUDGET RUSSELL VOUGHT, U.S.                      )
DEPARTMENT OF JUSTICE, ATTORNEY                  )
GENERAL OF THE U.S. DEPARTMENT                   )
OF JUSTICE PAMELA BONDI,                         )
                                                 )
                     Defendants.                 )


                        MEMORANDUM OPINION AND ORDER
MATTHEW F. KENNELLY, District Judge:

       In this order, the Court considers plaintiff CWIT's motion for a temporary

restraining order. The order describes the lawsuit, the motion, and the basis for the

Court's ruling.

                                   Background

       Chicago Women in Trades (CWIT) is a non-profit organization based in Illinois

that operates in all fifty states. Compl. ¶ 38. CWIT is dedicated "to promoting diversity,

equity, and inclusion within the skilled trades industry" through "preparing women across

the country to enter and remain in high-wage skilled trades, including carpentry,

electrical work, welding, plumbing, and others." Id. ¶ 12. Federal funding accounts for
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roughly forty percent of CWIT's annual budget. Id. ¶ 42.

       On January 20, 2025, President Donald J. Trump signed Executive Order 14151

(J20 Order), which is titled "Ending Radical and Wasteful Government DEI Programs

and Preferencing." Exec. Order No. 14151, 90 Fed. Reg. 8339; Compl., Ex. A. On

January 21, the President signed Executive Order 14173 (J21 Order), which is titled

"Ending Illegal Discrimination and Restoring Merit-Based Opportunity." Exec. Order No.

14173, 90 Fed. Reg. 8633; Compl., Ex. B. The Court will discuss the relevant language

of the two Orders in the body of this decision.

       On January 21, 2025, the United States Office of Personnel Management (OPM)

issued a memorandum to the "Heads and Acting Heads of Departments and Agencies"

directing agency heads to, among other actions, "terminate any DEIA-related

contractors" by January 22, 2025. Off. of Personnel Mgmt., Initial Guidance Regarding

DEIA Executive Orders (Jan. 21, 2025); Parker Decl., Ex. B at 1–2.

       On January 22, 2025, CWIT received an email from the grant administrator at the

Department of Labor (DOL) Women's Bureau, which issues one of CWIT's grants,

stating that "[e]ffective immediately, all recipients of federal financial assistance are

directed to cease all activities related to 'diversity, equity, and inclusion' (DEI) or

'diversity, equity, inclusion, and accessibility' (DEIA) under their federal awards,

consistent with the requirements of the Executive Orders" and that the DOL was

"reviewing all active federal awards and will take appropriate action, including

terminating the awards, consistent with the Executive Orders." Vellinga Decl., Ex. 1.

That same day, CWIT received an identical email forwarded by the Illinois Department

of Labor concerning a different grant. Also on January 22, CWIT received a Training



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and Employment Notice from DOL Acting Deputy Assistant Secretary Michelle

Paczynski with the subject line "Immediate Implementation of Executive Orders." The

Notice stated that "[e]ffective immediately, all recipients of federal financial assistance

awards are directed to cease all activities related to 'diversity, equity and inclusion' (DEI)

or 'diversity, equity, inclusion, and accessibility' (DEIA) under the federal awards,

consistent with the requirements of the EOs." Id., Ex. 2 at 1. DOL recirculated this

email on March 20, 2025. None of these emails or notices defined "DEI" or "DEIA."

       On January 23, 2025, CWIT received an email from Jobs for the Future (JFF), an

organization that CWIT subcontracts with, regarding two of JFF's grants. The email

stated that the executive orders required JFF "to pause immediately all activities directly

tied to our federally funded work related to 'diversity, equity, and inclusion' (DEI) or

'diversity, equity, inclusion, and accessibility' (DEIA)." Id., Ex. 3 at 1. In response, JFF

asked CWIT to stop "any further work" on its subcontracted DEI projects as well. Id.

       On March 26, 2025, JFF informed CWIT via email that it would be terminating its

contract with CWIT. JFF directly cited the executive orders as the basis for termination:

"JFF contracted with [CWIT] expressly to engage in activities no longer 'allowable' under

Federal guidelines, pursuant to Executive Orders 14151 and 14173." Pl.'s Second Mot.

to Suppl. the Factual R., Ex. A at 1.

       CWIT filed the present suit on February 26, 2025 against President Trump and

the DOL, the Office of Management and Budget (OMB), the Department of Justice, and

the heads of those agencies. CWIT alleges that five provisions of the J20 and J21

Orders violate its rights under the First and Fifth Amendments to the Constitution and

also run afoul of the Constitution's Spending Clause and the separation of powers.



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CWIT moved for a temporary restraining order (TRO) on March 18, 2025, arguing that it

faces imminent, irreparable harm from various terms of the J20 and J21 Orders.

A.     Standing

       The Court first addresses CWIT's standing to assert its claims. See Freedom

From Religion Found., Inc. v. Zielke, 845 F.2d 1463, 1467 (7th Cir. 1988). Standing has

three elements: a plaintiff must establish that it has (1) "suffered a concrete and

particularized injury that is either actual or imminent," (2) "that the injury is fairly

traceable to the defendant," and (3) "that it is likely that a favorable decision will redress

that injury." Massachusetts v. E.P.A., 549 U.S. 497, 517 (2007).

       In the First Amendment context, "[i]t is well established that preenforcement

challenges are within Article III." ACLU v. Alvarez, 679 F.3d 583, 590 (7th Cir. 2012)

(cleaned up). A plaintiff may establish imminent injury prior to enforcement by showing

either an "intention to engage in a course of conduct arguably affected by a policy,"

coupled with a "credible threat the policy will be enforced against" the plaintiff, or a

"chilling effect" on its speech that is "objectively reasonable" and results in "self-

censorship." Speech First, Inc. v. Killeen, 968 F.3d 628, 638 (7th Cir. 2020).

       The burden to demonstrate standing in connection with a motion for entry of a

TRO is "at least as great as the burden of resisting a summary judgment motion." Id. at

638 (quoting Lujan v. Nat'l Wildlife Fed'n, 497 U.S. 871, 907 n.8 (1990) (Blackmun, J.,

dissenting)). The plaintiff must "set forth by affidavit or other evidence 'specific facts,'

rather than general factual allegations of injury." Id. (cleaned up).

       1.      Section 2(b)(ii)(A) of the J20 Order &
               Sections 3(c)(iii) & 4(b) of the J21 Order

       Section 2(b)(ii)(A) of the J20 Order requires each agency to "provide the Director

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of the OMB with a list of all . . . agency or department DEI" activities and expenditures.

Exec. Order No. 14151, 90 Fed. Reg. 8339, § 2(b)(ii)(A); Compl., Ex. A at 8339.

Section 3(c)(iii) of the J21 Order requires the OMB to "[t]erminate all 'diversity'" and

"equity" "mandates, requirements, programs, or activities." Exec. Order No. 14173, 90

Fed. Reg. 8633, § 3(c)(iii); Compl., Ex. B at 8634. Section 4(b) of the J21 Order

requires the Attorney General to "submit a report to the Assistant to the President for

Domestic Policy containing recommendations for enforcing Federal civil-rights law,"

including a "plan" to "deter DEI programs or principles . . . that constitute illegal

discrimination." Exec. Order No. 14173, 90 Fed. Reg. 8633, § 4(b); Compl., Ex. B at

8635. These provisions focus on internal government agency processes and programs

and reporting to the President from his subordinates. CWIT, of course, is not an agency

within the executive branch of government, and it has not alleged that it conducts any

programming for the government. And it is difficult to see how CWIT can be in imminent

danger of an injury based on a provision that simply requires a cabinet official to issue a

report at a future date. For purposes of the present motion at least, the Court is

unpersuaded that CWIT can establish the required injury in fact with respect to these

provisions.

       2.     Section 2(b)(i) of the J20 Order & Section 3(b)(iv) of the J21 Order

       Section 2(b)(i) of the J20 Order (Termination Provision) requires each agency to

"terminate, to the maximum extent allowed by law, all . . . 'equity-related' grants." Exec.

Order No. 14151, 90 Fed. Reg. 8339, § 2(b)(i); Compl., Ex. A at 8339. Although the

government has not yet terminated CWIT's grants, CWIT has shown a sufficiently

imminent injury to allow a pre-enforcement challenge. CWIT's grants appear to be



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squarely targeted by this Termination Provision—the provision requires the termination

of "equity-related" grants, and CWIT alleges that it is a grantee that provides

programming "centered on equity." See Compl. ¶ 35. CWIT has also received several

credible threats of enforcement, including from grant issuers, to "cease all activities

related to [DEI] or [DEIA] under the federal awards, consistent with the requirements of

the Executive Orders." Vellinga Decl., Ex. 1 (emphasis added). This provision requires

the termination of grants "within sixty days of this order," i.e., March 21, 2025, further

indicating imminent injury. See Exec. Order No. 14151, 90 Fed. Reg. 8339, § 2(b)(i);

Compl., Ex. A at 8339. Finally, CWIT just had one of its subcontracts terminated due to

the executive orders. JFF, with whom CWIT subcontracts with for two of the grants at

issue, has sent CWIT an email stating that "[b]ecause once-allowable activities are no

longer allowable, corresponding funding is no longer available." Pl.'s Second Mot. to

Suppl. the Factual R., Ex. A at 1.

       Section 3(b)(iv) of the J21 Order (Certification Provision) states that each agency

"shall include in every . . . grant award" a certification, enforceable via the False Claims

Act, that the grantee "does not operate any programs promoting DEI that violate any

applicable Federal anti-discrimination laws." Exec. Order No. 14173, 90 Fed. Reg.

8633, § 3(c)(iv); Compl., Ex. B at 8634. CWIT alleges that it is a grantee that provides

programs promoting employment opportunities for women, so there is a strong basis to

believe that its conduct might be considered by the government to fall within the scope

of this provision. And, as discussed above, CWIT has received credible threats of

enforcement—as well as actual termination of a subcontract—from grantors.

       In addition, CWIT has alleged a pressure to self-censor in response to the



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Orders, underscoring the chilling effect of the orders on grantees.. For example, "one of

the pass-through entities with which CWIT works informed CWIT that subsequent to the

Executive Orders, its contract with DOL had been unilaterally modified to remove all

references to 'DEI' and 'DEIA.'" Suppl. Vellinga Decl. ¶ 14. This pass-through entity

"threatened to terminate CWIT's subgrant unless it self-censored and . . . eliminate[d]

any references to 'DEI' and 'DEIA' for an upcoming technical assistance program." Id.

¶ 15. CWIT further contends that the "pass-through entity has rejected CWIT’s

proposed training materials that retained the words 'Diversity and Equity' in the title,

though the materials did not otherwise mention diversity, equity, or inclusion." Id.

Despite this, CWIT alleges that it has received no guidance from the entity on how to

modify its materials to comply with the amended contract requirement. Id. ¶ 16.

Similarly, CWIT says that one of its contractors contacted CWIT to ask if any

presentations could be made without DEI content. According to CWIT, "[t]he contractor

suggested that it asked these questions because of the Executive Orders." Vellinga

Decl. ¶ 46. CWIT contends that such instances represent the sort of self-censorship

pressure that it faces and will continue to face under the threat of the J20 and J21

Orders.

       These injuries are imminent enough to constitute concrete injuries in fact that

support standing to challenge the Termination and Certification Provisions. In addition

to the fact that the Orders themselves, and the communications CWIT (and others) has

received, indicate that enforcement is imminent, the provisions essentially put grantees

like CWIT in the position of having to take action now to avoid adverse consequences in

the near future. Among other things, compliance with the Certification Provision—which



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requires a verification by the grantee that none of its programs (not just its programs

under government grants) "promot[e] DEI"—calls upon a grantee like CWIT to modify its

activities and advocacy now so that it can make an appropriate certification to avoid

having the axe fall.

       The imminent injuries are also fairly traceable to the defendants. Specifically, the

Termination and Certification Provisions are part of executive orders signed by the

President that, by their terms, require implementation by DOL and other federal

agencies. Finally, a restraining order preventing these provisions from being enforced

would prevent the injury from taking place.

       In sum, the Court is persuaded that CWIT has standing to pursue its challenges

to section 2(b)(i) of the J20 Order and section 3(c)(iv) of the J21 Order.

B.     Ripeness

       The government also argues that CWIT's challenges are not ripe. "Much like

standing, ripeness gives effect to Article III's Case or Controversy requirement by

'preventing the courts, through avoidance of premature adjudication, from entangling

themselves in abstract disagreements.'" Sweeney v. Raoul, 990 F.3d 555, 559–60 (7th

Cir. 2021) (quoting Abbott Laby's v. Gardner, 387 U.S. 136, 148 (1967)). In assessing

ripeness, courts consider "both the fitness of the issues for judicial decision and the

hardship to the parties of withholding court consideration." Id. at 560 (quoting Abbott

Laby's, 387 U.S. at 149).

       The government contends that CWIT's claims are not ripe as its claims are based

on "possible actions that agencies might take under the EOs." Defs.' Resp. at 13. But

as discussed above, a plaintiff may bring a pre-enforcement action when First



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Amendment rights are at stake. See Brown v. Kemp, 86 F.4th 745, 761 (7th Cir. 2023)

("A party who is the target of an unconstitutional law need not expose himself to liability

before challenging its constitutionality . . . ."). And based on CWIT's affidavits, CWIT

faces serious harm if consideration of its challenges is withheld—every day that passes

increases the risk of termination of its grants and, correspondingly, increases the

pressure to self-censor its speech. In fact, JFF has already informed CWIT that it is

terminating its subcontracts with CWIT due to the executive orders. See Pl.'s Second

Mot. to Suppl. the Factual R., Ex. A at 1.

       The government attempts to rebut this by arguing that under the Orders, only

illegal actions by grantees are prohibited, not First Amendment-protected speech. But,

as discussed below, the orders do not define "DEI," so determining what "DEI

programs" are legal or considered to be legal is left to the imagination of grantees.

       The Court therefore is persuaded that CWIT's challenges to the Termination and

Certification Provisions are ripe for review.

C.     Temporary restraining order

       To obtain injunctive relief, the movant "must establish that he [or she] is likely to

succeed on the merits, that he [or she] is likely to suffer irreparable harm in the absence

of preliminary relief, that the balance of equities tips in his [or her] favor, and that an

injunction is in the public interest." Bevis v. City of Naperville, 85 F.4th 1175, 1188 (7th

Cir. 2023) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). When,

as here, the government is a party to the suit, "assessing the harm to the opposing party

and weighing the public interest . . . merge." Nken v. Holder, 556 U.S. 418, 435 (2009).

Because injunctive relief is "an extraordinary and drastic remedy," the party seeking a



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TRO "carries the burden of persuasion" on each of these points. Mazurek v. Armstrong,

520 U.S. 968, 972 (1997).

       1.     Likelihood of success on the merits

       "In First Amendment cases, the likelihood of success . . . will often be the

determinative factor" in granting an injunction. Alvarez, 679 F.3d at 589 (cleaned up).

              a.      Termination Provision

       CWIT brings a facial challenge regarding the Termination Provision of the J20

Order. CWIT alleges that, as written, the provision violates its First Amendment right to

engage in protected speech and expressive conduct—specifically, to use its grants to

implement its mission, involving women-focused apprenticeship and training programs.

       To succeed on a facial challenge under the First Amendment, CWIT must

ultimately show that the law or regulation at issue "prohibits a substantial amount of

protected speech relative to its plainly legitimate sweep." Moody v. NetChoice, LLC,

603 U.S. 707, 723 (2024) (quoting United States v. Hansen, 599 U.S. 762, 770 (2023)).

In conducting this facial analysis, the first step is to assess the enactment's scope. Id.

at 724. The J20 Order's Termination Provision is plainly broad—it orders "[e]ach

agency, department, or commission head" to "terminate, to the maximum extent allowed

by law, all DEI, DEIA, and 'environmental justice' offices and positions . . . ; all 'equity

action plans,' 'equity' actions, initiatives, or programs, 'equity-related' grants or

contracts; and all DEI or DEIA performance requirements for employees, contractors, or

grantees." Exec. Order No. 14151, 90 Fed. Reg. 8339, § 2(b); Compl., Ex. A at 8339.

       The next step in a First Amendment facial challenge "is to decide which of the

[enactment's] applications violate the First Amendment, and to measure them against



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the rest." Moody, 603 U.S. at 725. This analysis requires "explor[ing] the . . . full range

of applications—the constitutionally impermissible and permissible both—and

compar[ing] the two sets." Id. "[T]he First Amendment prohibits government officials

from wielding their power selectively to punish or suppress speech, directly or . . .

through private intermediaries." Nat'l Rifle Ass'n of Am. v. Vullo, 602 U.S. 175, 198

(2024). Although government officials may "forcefully condemn[] views with which they

disagree," "the First Amendment prohibits government officials from relying on the

'threat of invoking legal sanctions and other means of coercion . . . to achieve the

suppression' of disfavored speech." Id. at 189, 198 (quoting Bantam Books, Inc. v.

Sullivan, 372 U.S. 58, 67 (1963)).

       As a starting point, in this case, the government contends that there is a clear

divide between any constitutionally impermissible enforcement of the Termination

Provision and its clearly legitimate sweep because the provision limits termination "to

the maximum extent allowed by law." Exec. Order No. 14151, 90 Fed. Reg. 8339, §

2(b)(i); Compl., Ex. A at 8339. Accordingly, the government argues, anything that

violates current Federal anti-discrimination laws may be terminated, and anything that

does not violate such laws may not be terminated. As such, the government's position

is that the Moody balancing test comes out in its favor.

       But the provision's limiting language cabining termination "to the extent allowed

by law" does not insulate the government to the extent it contends. See Vullo, 602 U.S.

at 196 ("[T]he conceded illegality of the NRA-endorsed insurance programs does not

insulate Vullo from First Amendment scrutiny . . . ."). The Supreme Court has made

clear that the government may not use the "threat of invoking legal sanctions and other



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means of coercion" to suppress disfavored speech, as such coercive action would

violate the First Amendment. Id. at 189.

       To determine whether a challenged communication—here, the Termination

Provision of the J20 Order—"is reasonably understood to be a coercive threat," a court

considers four factors under a totality-of-the-circumstances analysis. Id.; see also

Backpage.com, LLC v. Dart, 807 F.3d 229, 230–32 (7th Cir. 2015). These factors

include: "(1) word choice and tone; (2) the existence of regulatory authority; (3) whether

the speech was perceived as a threat; and perhaps most importantly, (4) whether the

speech refers to adverse consequences." Vullo, 602 U.S. at 189 (quoting Nat'l Rifle

Ass'n of Am. v. Vullo, 49 F.4th 700, 715 (2d Cir. 2022)); see also Backpage.com, 807

F.3d at 230–32 (considering the same factors in a totality-of-the-circumstances

analysis).

       The J20 Order is likely a coercive threat under this test. First, the word choice

and tone of the J20 Order indicates that the government will terminate "illegal and

immoral discrimination programs, going by the name 'diversity, equity, and inclusion'

(DEI)," and empowers government officials to terminate "all DEI [and] DEIA . . . officers

and positions . . . ; all 'equity action plans,' 'equity' actions, initiatives, or programs,

'equity-related' grants or contracts; and all DEI or DEIA performance requirements for

employees, contractors, or grantees." Exec. Order No. 14151, 90 Fed. Reg. 8339, §§ 1,

2(b)(i) (emphases added); Compl., Ex. A at 8339. This is strong language. Second,

because CWIT's grants are federally funded, the government has the ability to terminate

them. Finally, there are explicit adverse consequences for noncompliance with the J20

Order: termination of federally funded grants or contracts. On the other hand, the



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language limiting termination authority "to the maximum extent allowed by law" arguably

reduces the perception that the Termination Provision is a coercive threat. Exec. Order

No. 14151, 90 Fed. Reg. 8339, § 2(b)(i); Compl., Ex. A at 8339. Still, the totality of the

circumstances reflect that the J20 Termination Provision may reasonably be understood

as a coercive threat—and has been understood as such, as indicated by the actions

subcontractors have taken vis-à-vis CWIT—selectively targeting speech regarding DEI,

DEIA, and equity based on a belief that such programs are "immoral," i.e., disfavored by

the government.

       The Termination Provision's vagueness gives rise to additional First Amendment

issues. An enactment may be unconstitutionally vague under the First Amendment if it

regulates protected speech but the scope of its applications is uncertain, which "tend[s]

to produce large chilling effects." See Brown, 86 F.4th at 771 (citing NAACP v. Button,

371 U.S. 415, 432–33 (1963)); see also Grayned v. City of Rockford, 408 U.S. 104, 108

(1972) ("[W]here a vague statute abut(s) upon sensitive areas of basic First Amendment

freedoms, it operates to inhibit the exercise of (those) freedoms. Uncertain meanings

inevitably lead citizens to steer far wider of the unlawful zone . . . than if the boundaries

of the forbidden area were clearly marked." (citations and internal quotation marks

omitted)).

       CWIT contends that it is not possible to know whether the Termination Provision

prohibits a substantial amount of protected speech relative to its legitimate sweep

because there is no way for grantees to identify what falls under the provision to begin

with. Specifically, CWIT argues that the J20 Order targets "DEI," "DEIA,"

"environmental justice," "equity," and "equity action plans," but provides no definition of



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these terms. According to CWIT, the lack of definitions inhibits its ability to understand

what conduct is permissible. CWIT is thus concerned that some of its programs may

violate the J20 Termination Provision, but it cannot be certain of the extent of potential

violations. It contends that, as a result, it is forced to refrain from exercising its

protected speech rights for fear that its grant will be terminated because a program it

operates may run afoul of the J20 Order. This is particularly so given that one of its

subgrants now has been terminated.

       Returning to the steps outlined in Moody, if an enactment is written in such vague

terms that it is not possible to determine its full range of applications, thus producing a

large chilling effect, then the balancing test described in Moody is difficult to execute. At

base, though, it seems that if the full range of the Termination Provision's applications is

undefined such that it chills any protected speech that might touch upon whatever the

government now contends to be "DEI," "DEIA," or "equity," then the full range of the

provision's applications would be constitutionally impermissible.

       The government argues that any alleged vagueness in the J20 Termination

Provision does not support CWIT's claim because any vagueness prohibition is not as

stringent when a criminal statute is not involved. The government is correct that "[t]he

degree of vagueness that the Constitution tolerates" is dependent on the "nature of the

enactment." See Village of Hoffman Estates v. Flipside, Hoffman Ests., Inc., 455 U.S.

489, 498 (1982). It relies on National Endowment for the Arts v. Finley, 524 U.S. 569

(1998), to argue that the Termination Provision is sufficiently clear in the context of

government grants.

       Finley, however, is distinguishable. In Finley, the plaintiff brought a facial



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challenge to language in the National Foundation on the Arts and Humanities Act

directing the grantor to "tak[e] into consideration general standards of decency and

respect for the diverse beliefs and values of the American public" when issuing a grant.

Finley, 524 U.S. at 572 (quoting 20 U.S.C. § 954(d)(1)). The Supreme Court noted that

"[t]he terms of the provision are undeniably opaque, and if they appeared in a criminal

statute or regulatory scheme, they could raise substantial vagueness concerns." Id. at

588. The Court went on to state, however, that it was unlikely "that speakers will be

compelled to steer too far clear of any 'forbidden area' in the context of grants of this

nature" and therefore any concerns over chilled speech due to vagueness were "not

constitutionally severe." Id. at 589; see id. at 590 (finding that the challenged language

"merely adds some imprecise considerations to an already subjective selection

process").

       Here, unlike in Finley, it is likely that a speaker would feel compelled to steer

clear of a "forbidden area": DEI. In fact, that is precisely what CWIT contends it now

must do to ensure it does not violate the J20 Termination Provision. Its fear is

justified—just yesterday, on March 26, 2025, CWIT had a subcontract pursuant to a

grant given to JFF terminated based on JFF's determination that the executive orders

and ensuing enforcement emails "restrict[ed] activities related to DEI and DEIA" and

made "corresponding funding . . . no longer available." Pl.'s Second Mot. to Suppl. the

Factual R., Ex. A at 1. Therefore, the vagueness at issue in the Termination Provision

goes squarely to the Court's concerns in Finley even under a less stringent vagueness

standard. The Termination Provision, although not in a criminal statute, does appear to

"lead citizens to steer far wider of the unlawful zone . . . than if the boundaries of the



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forbidden area were clearly marked." Grayned, 408 U.S. at 108. As described in more

detail below, the Order provides no definition or even an example of what is considered

"illegal DEI" that would be permissibly terminated, and the government has been

unwilling or unable to clear it up during this litigation. Therefore, limiting termination to

the maximum extent allowed by law offers no real protection, as the extent to which

CWIT's programs may violate the law remains unclear.

       The government further contends that it may, "without violating the Constitution,

selectively fund a program to encourage certain activities it believes to be in the public

interest, without at the same time funding an alternative program which seeks to deal

with the problem in another way." Rust v. Sullivan, 500 U.S. 173, 193 (1991). That is

true. But Vullo makes clear that there is a line between the government enacting its

policy goals by serving as patron in granting federal funding and suppressing disfavored

speech through coercive threats or sanctions. Here, the government is not selectively

funding some programs but not others; it is indicating an entire area of programming

that is disfavored as "immoral" (as well as illegal) and threatening the termination of

funding unless grantees bring their conduct into line with the government's policy

agenda. Based on the totality-of-circumstances analysis above, eliminating federal

funds for DEI, DEIA, and equity-related speech falls on the coercive threat side of the

line. Accordingly, the present case is notably different from Finley and Rust.

       The Court concludes that CWIT has shown it is likely to succeed on the merits of

its claim against the Termination Provision on First Amendment grounds and thus need

not address CWIT's remaining claims relating to this provision.




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              b.     Certification Provision

       CWIT argues that section 3(b)(iv) of the J21 Order unconstitutionally infringes on

its First Amendment rights because the order effectively regulates CWIT's conduct

outside of the contours of the federal grants. "[F]unding condition[s] can result in an

unconstitutional burden on First Amendment rights" when the government goes beyond

"defining the limits of the Government spending program" and extends to "leverag[ing]

funding to regulate speech outside of the contours of the federal program itself."

Agency for Int'l Dev. v. All. for Open Soc'y Int'l, Inc., 570 U.S. 205, 206 (2013).

       The government conceded at oral argument that the Certification Provision

attempts to regulate grantees' speech outside of their federally-funded programs. The

provision on its face makes clear that a counterparty must certify that it does not

operate any programs that promote DEI, irrespective of whether the program is federally

funded.

       The government contends that the Certification Provision is permissible, as it

simply requires certification that the grantee is not breaking the law. Because a grantee

has no constitutional right to violate the law, the government argues, its receipt of funds

may appropriately be conditioned upon its certification that it abides by anti-

discrimination laws. In this regard, the government emphasizes that the Certification

Provision requires acknowledging only that the grantee does not operate any DEI

programs that "violate any applicable Federal antidiscrimination laws." Exec. Order No.

14173, 90 Fed. Reg. 8633, § 3(c)(iv); Compl., Ex. B at 8634.

       The problem, however, is that the meaning of this is left entirely to the

imagination. The Order that contains the Certification Provision does not define the



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term "DEI" itself, and it does not refer to any other source indicating what the term

means as used in the Order—let alone what might make any given "DEI" program

violate Federal anti-discrimination laws. And although the government emphasized,

both in its brief and at oral argument, that the Certification Provision implicates only

illegal DEI programs, it has studiously declined to shed any light on what this means.

The answer is anything but obvious. Indeed, the thrust of the Orders is that the

government's view of what is illegal in this regard has changed significantly with the new

Administration—even though the government has not (in the Orders) and has been

unwilling to (in its briefs or at argument) define how it has changed.

       Against this backdrop, the Certification Provision puts CWIT (and other grantees)

in a difficult and perhaps impossible position. They have received multiple

communications from the DOL directing them to ensure compliance with the J20 and

J21 Orders. As it relates to the Certification Provision, and in particular its application to

programs that are not federally funded, this means that CWIT or any other grantee must

either take steps now to revise their programmatic activity so that none of it "promote[s]

DEI" (whatever that is deemed to mean), decline to make a certification and thus lose

their grants, or risk making a certification that will be deemed false and thus subject the

grantee to liability under the False Claims Act. The J21 Order's reference to "programs

promoting DEI," moreover, is fairly read as an express reference to First Amendment-

protected speech and advocacy, even if cabined to promoting whatever the government

may now contend is "illegal DEI." Cf. Virginia v. Black, 538 U.S. 343, 359 (2003)

(quoting Brandenburg v. Ohio, 395 U.S. 444, 447 (1969)) ("[T]he constitutional

guarantees of free speech and free press do not permit a State to forbid or proscribe



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advocacy . . . of law violation except where such advocacy is directed to inciting or

producing imminent lawless action and is likely to incite or produce such action.").

       For these reasons, the Court concludes that CWIT has shown that it is likely to

succeed on the merits of its claim challenging the Certification Provision.

       2.     Irreparable harm

       Given the Court's finding that CWIT has established a likelihood of success on its

claims that the Termination and Certification Provisions violate its First Amendment

rights, it has made a sufficient showing of irreparable harm that would result from

enforcement of these provisions. See Alvarez, 679 F.3d at 589 ("[L]oss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury." (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality

opinion))). Further, when First Amendment rights are at stake, the "quantification of

injury is difficult and damages are therefore not an adequate remedy." Id. (citation

omitted).

       3.     Balancing of the harms & public interest

       "[I]njunctions protecting First Amendment freedoms are always in the public

interest." Id. (citation omitted). Accordingly, "the balance of harms normally favors

granting preliminary injunctive relief because the public interest is not harmed by

preliminarily enjoining the enforcement of a statute that is probably unconstitutional." Id.

at 589–90. Further, because both Orders contain a severability clause, the

unchallenged provisions of the Orders will remain in effect even if the Court issues a

TRO. See Exec. Order No. 14151, 90 Fed. Reg. 8339, § 3 ("If any provision of this

order . . . is held to be invalid, the remainder of this order and the application of its



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provisions to any other persons or circumstances shall not be affected thereby."); Exec.

Order No. 14173, 90 Fed. Reg. 8633, § 6 (same); Compl., Exs. A–B. Finally, issuance

of a TRO will not prevent the government from enforcing existing anti-discrimination

laws.

        For these reasons, the balance of harms and public interest weighs in favor of

granting the TRO.

D.      Scope

        CWIT seeks to enjoin enforcement of the relevant provisions of the Orders

across the board, not just for itself but also for other grantees. It contends that the

Termination and Certification Provisions are particularly appropriate for a nationwide

injunction because the government relies on a categorical policy and the facts would not

require different relief for other federal grantees.

        The Seventh Circuit has held that a district court has discretion to grant a

nationwide injunction "to provide complete relief to plaintiffs, to protect similarly-situated

nonparties, and to avoid the chaos and confusion that comes from a patchwork of

injunctions." City of Chicago v. Barr, 961 F.3d 882, 916–17 (7th Cir. 2020) (citation

omitted); see also id. at 916 ("[B]oth historical and current practice lends support to a

determination that the courts possess the authority to impose injunctions that extend

beyond the parties before the court."). Still, the Seventh Circuit has made clear that

nationwide injunctions "present real dangers." Id. at 916. In particular, they "can

truncate the process of judicial review" by "elevating the judgment of a single district

court," and thus may create "the potential for forum shopping." Id. Such broad

injunctive relief is therefore "appropriate only in rare circumstances." Id.



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       The Court finds that a temporary restraining order precluding any enforcement of

the Certification Provision is warranted to ensure that CWIT is provided complete relief

and to prevent broader impending violations against others who are similarly situated.

See id. at 920–21 ("[A] court may impose the equitable relief necessary to render

complete relief to the plaintiff . . . ."); see also Califano v. Yamasaki, 442 U.S. 682, 702

(1979) ("[T]he scope of injunctive relief is dictated by the extent of the violation

established . . . ."); Zamecnik v. Indian Prairie Sch. Dist. No. 204, 636 F.3d 874, 879 (7th

Cir. 2011) ("When the court believes the underlying right to be highly significant, it may

write injunctive relief as broad as the right itself.” (citation omitted)). This situation

appears to be the type of "exceptional circumstances" in which "the proper scope" of the

temporary restraining order is nationwide. Barr, 916 F.3d at 917 ("Any number of

factors could influence a court's determination as to the proper scope of an injunction,

including the nature of the violation, the extent of the impact, the urgency of the

situation, the multiplicity of litigation, and the ability of others to even access the

courts.").

       CWIT does not just work alone, but in conjunction with other organizations that

may be deemed to provide DEI-related programming. The Certification Provision

requires grant recipients to certify that they do "not operate any programs promoting

DEI." In other words, as a result of this provision, CWIT will not be able to work with

other recipients of government grants unless those grantees also satisfy this provision

by cutting any DEI-related efforts.

       As explained previously, the impact of this provision on CWIT and other grantees

is likely to result in self-censorship. CWIT has already lost its JFF subcontract due to



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JFF's concern that it would run afoul of the executive orders by working with CWIT. To

afford CWIT complete relief, other entities it works with must be protected from the

Certification Provision as well.

       Indeed, the concern that other similarly situated grant recipients may be targeted

by the Certification Provision is anything but speculative. On March 20, 2025, roughly

sixty organizations, including CWIT, received an email from DOL instructing them to

"immediately cease all award activities related to DEI," "consistent with the

requirements of the EOs." Mot. to Suppl. to the Factual R., Ex. A at 1–2. Therefore, a

nationwide temporary restraining order protects similarly situated non-parties as well

and ensures that CWIT is provided complete relief.

       Further, the fact that the Certification Provision reaches speech beyond the

federally-funded program supports a broad injunction. Every grant recipient is expected

to certify that it does not engage in any programs involving "illegal DEI" (not just

federally funded programs) without knowing what programs fall under that umbrella.

Rather than spend their resources to challenge their patron in court or risk False Claims

Act litigation, it is likely that many of these grantees will take the safer route and choose

to simply stop speaking on anything remotely related to what the government might

consider to promote DEI or equity. A nationwide restraining order is appropriate to

protect grantees who cannot afford the risks inherent in biting the hand that feeds them.

       The Court reaches a different conclusion, however, regarding the Termination

Provision. First of all, the record does not reflect significant evidence that CWIT will not

be provided complete relief without a nationwide injunction on this provision. Once this

provision is enjoined against CWIT, its government grants will be safeguarded.



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       In addition, the risk that other affected grantees will not challenge enforcement of

this provision against them is likely far less than for the Certification Provision. A

grantee whose funding is terminated would appear to have an ample incentive to

challenge the termination so that it can retain funding; it is less likely that they will simply

turn and walk away. Although there certainly is a risk that grantees will remove broad

swaths of programs to avoid the potential for termination, the Court is not persuaded at

this juncture that this risk outweighs the concerns with nationwide restraining orders

with respect to the Termination Provision. Rather, the Court will limit its restraining order

with regard to the Termination Provision to CWIT and any federal grantee through which

CWIT holds a subcontract or is a subrecipient of federal funds, including JFF.

       Finally, these temporary restraining orders are limited to enjoining DOL, and not

other defendants. DOL administers CWIT's grants—and also administers grants to

other recipients who work with CWIT. And it is with regard to DOL that CWIT has shown

a risk of imminent harm, as illustrated by the emails DOL has recently sent to CWIT and

other grant recipients. The Court therefore limits the reach of its temporary restraining

order to DOL, at least at this juncture.

                                           Conclusion

       For the reasons stated above, the Court grants in part CWIT's motion for a

temporary restraining order [dkt. no. 40]. The Court will separately enter a temporary

restraining order. 1 The preliminary injunction briefing schedule is advanced as follows:




1 The Court notes that the order's language as it is being entered does not fully cover

the intended scope of the TRO concerning the Termination Provision, specifically
concerning the TRO's operation with regard to grants, etc. to other entities that contract
with CWIT. The parties are to promptly propose modified language to cover this.
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any further response by the government to the motion for preliminary injunction must be

filed by April 3, 2025, and any further reply by the plaintiff must be filed by April 7, 2025.

The preliminary injunction motion is set for an in-person hearing on April 10, 2025 at

10:00 a.m.

Date: March 26, 2025


                                                   ________________________________
                                                        MATTHEW F. KENNELLY
                                                        United States District Judge




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